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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
VS.                                        §         CR. NO. 4:17-cr-00737-1
                                           §
KAAN SERCAN DAMLARKAYA                     §

      SECOND UNOPPOSED MOTION TO CONTINUE SENTENCING
           AND TO ENTER A NEW SCHEDULING ORDER

TO THE HONORABLE ANDREW S. HANEN, UNITED STATES DISTRICT
JUDGE FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION:

       NOW COMES, Defendant, KAAN SERCAN DAMLARKAYA, in the above-

captioned matter, by and through his undersigned counsel, respectfully moves this

Honorable Court to continue the sentencing and to enter a new scheduling order in his

case and for good cause would show as follows:

                                           I.

       The initial Presentence Investigation Report in this case was received on August

22, 2019. The initial sentencing date was September 30, 2019. Counsel filed an

Unopposed Motion for Continuance which was granted on September 24, 2019. The

sentencing date in this case is currently scheduled for January 6, 2020.

                                          II.

       Counsel for Defendant requests a continuance for the following reasons: (1)

Counsel needs more time to prepare for sentencing as we continue to gather mitigation
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material for the court to take into consideration. (2) Counsel has been preparing for

numerous trial settings, sentencings and hearings and needs additional time to

finalizing the memorandum in this case. Counsel was set for and extensively prepared

for a competency hearing held on December 18, 2019 in Montgomery County, Texas:

State of Texas vs. Brandon Tyer; Cause No’s: 16-08-09722, 16-08-09724, 16-08-09726,

17-02-02139. Counsel is set for trial on January 10, 2020 in Harris County, Texas: State

of Texas vs. Bao-Son Pham; Cause No’s: 1565256 and 1565265, counsel is also set

for trial on January 17, 2020 in Harris County, Texas: State of Texas vs. Eleno Garza;

Cause No. 1581422. (3) Counsel has a pre-planned family holiday vacation starting on

December 22, 2019 through December 29, 2019.

                                          III.

      Assistant United States Attorney’s Alamdar Hamdani and Arthur Jones are

unopposed to the continuance.

                                          IV.

      This motion for continuance is not made for purposes of delay, but that justice

may be done. For all the foregoing reasons, counsel for defendant requests a

continuance of the sentencing for at least ninety (90) days in this case.
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                               Respectfully submitted,




                               GARY TABAKMAN
                               TBA No. 24076065
                               Federal ID No. 1305623
                               Old Fannin Building
                               3515 Fannin Street.
                               Houston, Texas
                               Telephone: (713)526-6300
                               Facsimile: (713)808-9444
                               Email: Gary@GTLawfirm.com

                               Attorney for Defendant,
                               KAAN SERCAN DAMLARKAYA
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                        CERTIFICATE OF CONFERENCE

       On December 20, 2019, counsel for Defendant conferred with AUSA’s,

Alamdar Hamdani and Arthur Jones concerning their position on this Unopposed

Motion to Continue Sentencing. They are both unopposed.




                                        GARY TABAKMAN


                            CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all parties.




                                        GARY TABAKMAN
